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UNITED STATES DISTRICT COURT FOR
THE DISTRICT OF NEW JERSEY

Jerry Nardella and Jerilyn i
Nardella i Civil Action No.: 2:17-cv—-01779

Plaintiff,

Vs.
STIPULATION OF DSIMISSAL

WELLS FARGO BANK, N.A.; BANC } WITHOUT PREJUDICE

OF AMERICA FUNDING
CORPORATION 2007-C; BANK OF
AMERICA, N.A.; SHAPIRO &
DENARDO, LLC; JOHN DOES I-xX,

Defendants.

 

 

IT IS HEREBY STIPULATED that the Complaint filed by
Plaintiffs Jerry Nardella and Jerilyn Nardella, be and is hereby
dismissed without prejudice against Defendants Wells Fargo Bank,
N.A.; Banc of America Funding Corporation 2007-C; Bank Of
America, N.A.; Shapiro & Denardo, Llc; John Does I-X without
attorneys fees or costs to any party.

DENBEAUX & DENBEAUX
ATTORNEYS FOR PLAINTIFFS

/S/ Joshua W. Denbeaux
Joshua W. Denbeaux, Esq.

 

Dated: May 11, 2015
